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Attorney for Michael Lee Hardin
______________________________________________________________________________
                      IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF UTAH, CENTRAL DIVISION

                                                      APPEARANCE OF COUNSEL
 UNITED STATES OF AMERICA

               Plaintiff,

 vs.
                                                         Case No. 1:21-cr-280-TJK
 MICHAEL LEE HARDIN,
                                                     Honorable Judge Timothy J. Kelly
               Defendant.



       Scott C. Williams hereby enters his appearance of counsel on behalf of defendant

Michael Lee Hardin in the above-captioned matter



       .

       Respectfully submitted this 20th day of November, 2021.


                                           /s/ Scott C. Williams           .
                                           Scott C. Williams
                                           Attorney for Defendant



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                                 CERTIFICATE OF SERVICE

       I hereby certify that on November 2021, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which sent notification of such filing to the

following:

Hava Mirell
Hava.mirell@usdoj.gov


                                                    /s/ Jayme Mackay               .




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